           Case 10-42112      Doc 36     Filed 04/27/11 Entered 04/27/11 18:58:05             Desc Main
                                           Document     Page 1 of 3

                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF ILLINOIS



                                    §
In Re:     TREVIAN KUTTI            §      Case No.: 10-42112
                                    §
                                    §
                                    §
      Debtor(s)                     §
----------------------------------------------------------------------

               CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

Tom Vaughn, Chapter 13 Trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The trustee declares as
follows:

         1)    The case was filed on 09/21/2010.

         2)    This case was confirmed on N/A.

         3)    The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA.

         4)    The trustee filed action to remedy default by the debtor in performance under the plan on
NA.

         5)    The case was dismissed on 01/10/2011.

         6)    Number of months from filing to the last payment: 2

         7)    Number of months case was pending: 7

         8)    Total value of assets abandoned by court order: NA

         9)    Total value of assets exempted: $    17,950.00

         10)   Amount of unsecured claims discharged without payment $            .00

         11)   All checks distributed by the trustee to this case have cleared the bank.




UST Form 101-13-FR-S(9/01/2009)
       Case 10-42112    Doc 36    Filed 04/27/11 Entered 04/27/11 18:58:05   Desc Main
                                    Document     Page 2 of 3
·=========================================================================                      ·
| Receipts:
  _________                                                                                     |
|           Total paid by or on behalf of the debtor $
                                                     _______________
                                                            251.46                              |
|           Less amount refunded to debtor           $
                                                     _______________
                                                               .00                              |
| NET RECEIPTS                                             $
                                                           _______________
                                                                   251.46                       |
·=========================================================================                      ·

·=========================================================================                      ·
| ___________________________
  Expenses of Administration:                                                                   |
|                                                                                               |
|           Attorney's Fees Paid through the Plan  $
                                                   ______________
                                                          234.11                                |
|           Court Costs                            $
                                                   ______________
                                                             .00                                |
|           Trustee Expenses and Compensation      $
                                                   ______________
                                                           17.35                                |
|           Other                                  $
                                                   ______________
                                                             .00                                |
|                                                                                               |
| TOTAL EXPENSES OF ADMINISTRATION                       $
                                                         ______________
                                                                 251.46                         |
|                                                                                               |
| Attorney fees paid and disclosed by debtor       $
                                                   ______________
                                                          392.00                                |
·=========================================================================                      ·

·=========================================================================                      ·
| ____________________
   Scheduled Creditors:                                                                         |
|                                                                                               |
| Creditor                      Claim        Claim       Claim       Principal       Int.       |
| ___________
    Name              _____
                      Class    _________
                               Scheduled  _________
                                           Asserted     _________
                                                         Allowed      ________
                                                                       Paid        ______
                                                                                    Paid        |
|                                                                                               |
|CHASE MANHATTAN MORT SECURED 395,536.14            .00          .00           .00        .00   |
|NEW YORK COMMUNITY B SECURED   30,256.97   24,751.76            .00           .00        .00   |
|THE TOWERS CONDO ASS SECURED   33,000.00           .00          .00           .00        .00   |
|COMMONWEALTH EDISON UNSECURED   4,486.00    5,029.19       5,029.19           .00        .00   |
|NEW YORK COMMUNITY B SECURED         .00           .00     6,039.11           .00        .00   |
·=========================================================================                      ·




UST Form 101-13-FR-S(9/01/2009)
           Case 10-42112            Doc 36       Filed 04/27/11 Entered 04/27/11 18:58:05                        Desc Main
                                                   Document     Page 3 of 3
·=========================================================================                                                   ·
| ______________________________________
  Summary of Disbursements to Creditors:                                                                                     |
|                                                                                                                            |
|                                           Claim       Principal        Int.                                                |
|                                           _______
                                            Allowed     ________
                                                         Paid            ____
                                                                         Paid                                                |
| Secured Payments:                                                                                                          |
|        Mortgage Ongoing                          .00          .00         .00                                              |
|        Mortgage Arrearage                   6,039.11          .00         .00                                              |
|        Debt Secured by Vehicle                   .00          .00         .00                                              |
|        All Other Secured                 ___________
                                                   .00 ___________
                                                                .00 __________
                                                                            .00                                              |
| TOTAL SECURED:                              6,039.11          .00         .00                                              |
|                                                                                                                            |
| Priority Unsecured Payments:                                                                                               |
|        Domestic Support Arrearage                .00          .00         .00                                              |
|        Domestic Support Ongoing                  .00          .00         .00                                              |
|        All Other Priority                ___________
                                                   .00 ___________
                                                                .00 __________
                                                                            .00                                              |
| TOTAL PRIORITY:                                  .00          .00         .00                                              |
|                                                                                                                            |
| GENERAL UNSECURED PAYMENTS:                 5,029.19          .00         .00                                              |
·=========================================================================                                                   ·

·=========================================================================                                                   ·
| Disbursements:
  ______________                                                                                                             |
|                                                                                                                            |
|        Expenses of Administration     $    251.46                                                                          |
|        Disbursements to Creditors     $       .00                                                                          |
|                                                                                                                            |
| TOTAL DISBURSEMENTS:                                 $     251.46                                                          |
·=========================================================================                                                   ·

        12)     The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.


Dated:       ______________
             04/27/2011                                             ________________________________________
                                                                    /s/ Tom Vaughn
                                                                    Tom Vaughn, Chapter 13 Trustee

STATEMENT       : This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R § 1320. 4(a)(2) applies.




UST Form 101-13-FR-S(9/01/2009)
